Case 2:04-cv-02752-.]DB-dkv Document 21 Filed 08/30/05 Page 1 of 2 Page|D 36

IN THE UNITED STATES DISTRICT COURT F"_E
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

   

GORDON NEWSOME,

GAVIN NEWSOME, CHARISSA
NEWSOME and DESTINY NEWSOME,
Minors by HAZEL B. THOMPSON, Guardian
and Next Friend,

Plaintiffs,
v. No. 04-2752-B/V

PRIMERICA LIFE INSURANCE
COMPANY and STEVE A. STOKES,

Defendants.

 

ORDER OF REFERENCE

 

Before the court is Defendants’ Motion to Dismiss as Sanction for Plaintiffs’ Failure to
Comply with Court Orders, for Failure to Respond to Pending Motion to Dismiss by Defendant
Stokes, and for Failure to Participate in Discovery filed on August 26, 2005.

This matter is hereby referred to the United States Magistrate Judge for determination
and/or a report and recommendation Any objections to the magistrate judge’s order and/or
report and recommendation shall be made within ten (10) days after service of the report, setting
forth particularly those portions of the order/report objected to and the reasons for the
objections Failure to timely assign as error a defect in the magistrate judge’s order/report will
constitute a waiver of that objection. § Rule 72(a), Federal Rules of Civil Procedure.

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IT IS SO ORDERED this 561 day of August, 2005.

J. DANIEL BREEN `“
Nrr D sTATEs DIsTRICr JUDGE

`Th|e document entered on the docket sheet \n compliance
with eula 58 and/or 79(3) FecP on 3331/0 5

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:04-CV-02752 was distributed by faX, mail, or direct printing on
August 31, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

